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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 KALOMA CARDWELL,

                               Plaintiff,
        v.

 DAVIS POLK & WARDWELL LLP,
                                                      19 Civ. 10256 (GHW)
 THOMAS REID, JOHN BICK, WILLIAM
 CHUDD, SOPHIA HUDSON, HAROLD
 BIRNBAUM, DANIEL BRASS, BRIAN
 WOLFE, and JOHN BUTLER,

                               Defendants.




      DECLARATION OF SUSANNA BUERGEL IN SUPPORT OF DEFENDANTS’
             PARTIAL MOTION TO DISMISS THE AMENDED COMPLAINT

              Susanna Buergel declares pursuant to 28 U.S.C. § 1746:

              1.      I am an attorney at the law firm of Paul, Weiss, Rifkind, Wharton &

Garrison LLP, 1285 Avenue of the Americas, New York, New York 10019, counsel for defendants

Davis Polk & Wardwell LLP (“Davis Polk”), John Bick, Harold Birnbaum, Daniel Brass, John

Butler, William Chudd, Sophia Hudson, Thomas Reid, and Brian Wolfe. I submit this declaration

in support of defendants’ partial motion to dismiss the amended complaint.

              2.      Attached to this declaration are true and correct copies of documents

incorporated by reference in the amended complaint and referenced in defendants’ memorandum

of law in support of their partial motion to dismiss the amended complaint:




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    Exhibit A:   August 3, 2017 letter from Cara Greene (then counsel to Cardwell)

                 to John Douglass of the Equal Employment Opportunity

                 Commission (“EEOC”), stamped as received by the EEOC on

                 August 4, 2017, and charge cover sheet.


    Exhibit B:   October 10, 2017 letter from David Powell of the New York State

                 Division of Human Rights (“NYSDHR”) to Davis Polk and excerpts

                 of enclosures thereto, consisting of (i) a “NOTICE OF CHARGE

                 OF DISCRIMINATION WHERE AN FEP AGENCY WILL

                 INITIALLY PROCESS,” (ii) a respondent contact information

                 sheet, and (iii) excerpt of Cardwell’s NYSDHR verified complaint,

                 bearing an NYSDHR caption.


    Exhibit C:   Excerpt of December 5, 2017 response of Davis Polk to Cardwell’s

                 NYSDHR verified complaint, addressed to David Powell

                 (NYSDHR), consisting of (i) a completed respondent contact

                 information sheet, (ii) the first page of a response addressed to the

                 NYSDHR, and (iii) Exhibit 11 (of 26) to response (redactions in

                 version as submitted to NYSDHR).


    Exhibit D:   Cardwell’s supplemental charge signed on April 25, 2018.

                 Supplemental charge particulars not included.


    Exhibit E:   Excerpt of July 13, 2018 response of Davis Polk to Cardwell’s

                 supplemental charge, addressed to David Powell (NYSDHR).

                 Exhibits to letter not included.


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             Exhibit F:    November 19, 2019 FOIL Request to Siaka Paasewe (NYSDHR

                           Records Access Officer) requesting materials on file with the

                           NYSDHR regarding Cardwell’s charge against Davis Polk,

                           including without limitation “copies of . . . any briefs or replies filed

                           by Mr. Cardwell, if any were ever filed.” Exhibits to letter not

                           included.


             Exhibit G:    July 19, 2016 email exchange between Sophia Hudson and Kaloma

                           Cardwell discussing recommendations for restaurants, incorporated

                           by reference at ¶ 124 of the amended complaint.


             3.     I declare under penalty of perjury that the foregoing is true and correct.


Dated:       April 30, 2020
             New York, New York

                                   By: /s/ Susanna Buergel
                                     Susanna Buergel

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